                   Case 2:00-cv-01672-MJP Document 500 Filed 10/11/07 Page 1 of 4




 1                                                                      The Honorable Marsha J. Pechman
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 7            UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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     KENNETH HANKIN, JENNIFER HUDZIEC,
10   STEPHANIE LANE, and DENISE COOPER,
     on behalf of themselves and all others similarly           No. C00-1672P
11   situated,
                                                                DECLARATION OF TYLER WEAVER
12                                              Plaintiffs,     IN SUPPORT OF PLAINTIFFS’ MOTION
                                                                TO ALLOW LATE CLAIM
13               v.
                                                                NOTED FOR HEARING:
14   THE CITY OF SEATTLE, a municipality,                       October 26, 2007 at 10:00 a.m.
15                                           Defendant.
16

17               I, Tyler S. Weaver, declare:

18               1.        I am an attorney at the law firm of Hagens Berman Sobol Shapiro LLP, one of the

19   counsel of record for Plaintiffs in the above action. I make this declaration in support of

20   Plaintiffs’ Motion to Allow Late Claim. I am familiar with the facts set forth herein and will

21   testify to them if necessary.

22               2.        On August 30, 2007, Class counsel received a phone call from a Class member

23   who indicated that he had just found out about the settlement that morning, and that he had

24   completed, signed, and returned a claim form.

25               3.        According to the Claimant, he left a voicemail message with Class Counsel in or

26   about January 2007, shortly after reading the verdict in this case. He thought that he left it with



     DECLARATION OF TYLER WEAVER RE
     PLAINTIFFS’ MOTION TO ALLOW LATE
     CLAIM – 1
     001428-11 201380 V1
                                                                              1301 FIFTH AVENUE, SUITE 2900 • SEATTLE, WA 98101
                                                                            TELEPHONE (206) 623-7292 • FACSIMILE (206) 623-0594
                   Case 2:00-cv-01672-MJP Document 500 Filed 10/11/07 Page 2 of 4




 1   my firm, although he was unsure about that, and also did not know whose voicemail he left the
 2   message on.
 3               4.        Starting in January 2007, I made a practice of keeping voicemails and emails I
 4   received from Class members that provided contact information, so that I could be sure to
 5   include them on our list of individuals who should receive a notice. I also made a practice of
 6   forwarding a copy of those voicemails and emails to the paralegal working on this case.
 7   However, my office does not have any voicemail or record of this person’s contact information,
 8   and none of my co-counsel believe that they received such a voicemail. That said, my office and
 9   co-counsel’s offices received a massive amount of contact from the media and the Class
10   members both during and following the jury trial, and it is conceivable that his voicemail was
11   lost in the onslaught.
12               I make this statement under the penalty of perjury under the laws of the United States.
13               Executed this 11th day of October, 2007 at Seattle, Washington.
14

15
                                                                       /s/ Tyler S. Weaver
16                                                              Tyler S. Weaver, WSBA #29413
                                                        HAGENS BERMAN SOBOL SHAPIRO LLP
17                                                      1301 Fifth Avenue, Suite 2900
                                                        Seattle, WA 98101
18                                                      (206) 623-7292
19

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     DECLARATION OF TYLER WEAVER RE
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                   Case 2:00-cv-01672-MJP Document 500 Filed 10/11/07 Page 3 of 4




 1                                       CERTIFICATE OF SERVICE
 2               I hereby certify that on October 11, 2007, I electronically filed the foregoing document
 3   with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 4   to the following:
 5         •     Leslie A Bailey
                 lbailey@tlpj.org
 6
           •     Arthur H. Bryant
 7               abryant@tlpj.org
 8         •     Theron A. Buck
                 tbuck@staffordfrey.com; bcarranza@staffordfrey.com; dmashburn@staffordfrey.com;
 9               swindes@staffordfrey.com
10         •     Heather L Carr
                 hcarr@staffordfrey.com; erayborn@staffordfrey.com
11
           •     Karen Cobb
12
                 kcobb@staffordfrey.com; erayborn@staffordfrey.com
13
           •      Fred Diamondstone
14               fdiamondstone@seanet.com

15         •     Stephen Powell Larson
                 slarson@staffordfrey.com; mnewkirk@staffordfrey.com; dmashburn@staffordfrey.com;
16               swindes@staffordfrey.com
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           •     Thomas Sean Sheehan
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                 sean.sheehan@seattle.gov; donna.robinson@seattle.gov; leslie.filler@seattle.gov;
23               anne.elliott@seattle.gov

24         •     Michael E. Withey
                 mike@skwwc.com; kristinm@skwwc.com; johank@skwwc.com
25

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                   Case 2:00-cv-01672-MJP Document 500 Filed 10/11/07 Page 4 of 4




 1               Executed this 11th day of October, 2007.
 2                                                   s/ Tyler Weaver_________________________
                                                        Tyler Weaver, WSBA No. 29413
 3                                                   HAGENS BERMAN SOBOL SHAPIRO LLP
                                                     1301 Fifth Avenue, Suite 2900
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 5                                                   Fax: (206) 623-0594
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